                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )   No. 3:11-00012
v.                                               )   Judge Sharp
                                                 )
RAY OZEN [31]                                    )
                                                 )

                                            ORDER



         Pending before the Court is Defendant’s Motion to Set Change of Plea Hearing (Docket No.

2106).

         The motion is GRANTED and a change of plea hearing is hereby scheduled for Tuesday,

May 6, 2014, at 10:30 a.m.

         The final pretrial conference scheduled for Friday, May 2, 2014, at 2:30 p.m. is hereby

CANCELLED.

         It is so ORDERED.




                                              KEVIN H. SHARP
                                              UNITED STATES DISTRICT JUDGE




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